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                           Exhibit A
                    Satisfied Proofs of Claims
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                                                                            Second Notice of Satisfaction
                                                                             Exhibit A: Satisfied Claims
                                            DATE                                                           ASSERTED CLAIM
    NAME                                    FILED      CASE NUMBER                 DEBTOR       CLAIM #        AMOUNT                         REASON FOR SATISFACTION
1   CITY OF MEMPHIS                       8/18/2020     20-10343 (LSS) Boy Scouts of America    C343-248            $ 150.53* Claim satisfied pursuant to Final Taxes Order. Claim paid
    P.O. BOX 185                                                                                                              in full via Wire No. 54081920 on 8/19/2020.
    MEMPHIS, TN 38101
2   ESIS, INC                             11/13/2020    20-10343 (LSS) Boy Scouts of America     C343-           $ 27,065.00* Postpetition claim satisfied in full in the ordinary course as
    C/O DUANE MORRIS LLP                                                                         6185                         a postpetition liability. Claim paid in full via ACH no.
    ATTN: WENDY M SIMKULAK                                                                                                    00001157 on 3/17/21, ACH no. 00001158 on 3/17/21,
    30 S 17TH ST                                                                                                              ACH no. 00001159 on 3/17/21, ACH no. 00001160 on
    PHILADELPHIA, PA 19103                                                                                                    3/17/21, and ACH no. 00001000 on 11/18/20.



3   LOS COLINAS COMFORT SUITES             7/9/2020     20-10343 (LSS) Boy Scouts of America    C343-413             $ 102.35 Claim satisfied pursuant to Final Critical Vendors Order.
    ATTN: CHERI FLYNN                                                                                                         Claim paid in full via CHK No. 1221842 dated 01/10/2019.
    1223 GREENWAY CIR
    IRVING, TX 75038
4   NELSON WESTERBERG, INC                 5/1/2020     20-10343 (LSS) Boy Scouts of America    C343-52           $ 17,754.92 Claim satisfied pursuant to Final Employee Wage Order.
    ATTN: FRAN NELSON                                                                                                         The Debtors paid the claimant via check no. 00080132 on
    1500 ARTHUR AVE                                                                                                           10/28/2020.
    ELK GROVE, IL 60007
5   TARRANT COUNTY                        2/28/2020     20-10343 (LSS) Boy Scouts of America     C343-8            $ 4,682.98 Claim satisfied pursuant Final Taxes Order. Claim paid in
    C/O LINEBARGER GOGGAN                                                                                                     full via Wire No. 15012821 dated 1/28/2021 and Wire No.
    BLAIR & SAMPSON LLP                                                                                                       17012821 on 1/28/2021.
    ATTN: ELIZABETH WELLER
    2777 N STEMMONS FWY, STE
    1000
    DALLAS, TX 75207
6   TEXAS WORKFORCE                       7/15/2020     20-10343 (LSS) Boy Scouts of America    C343-129         $ 160,237.47 Claim satisfied pursuant to Final Employee Wage Order.
    COMMISSION                                                                                                                Claim paid in full via Check Nos. 01349923, 01351770,
    C/O OFFICE OF ATTORNEY                                                                                                    and 01351953 dated on 9/16/2020, 1/13/2021 and
    GENERAL                                                                                                                   1/27/2021, respectively.
    BANKRUPTCY & COLLECTIONS
    P.O. BOX 12548, MC-0008
    AUSTIN, TX 78711-2548
7   TEXAS WORKFORCE                       7/20/2020     20-10343 (LSS) Boy Scouts of America    C343-354         $ 427,711.59 Claim satisfied pursuant to Final Employee Wage Order.
    COMMISSION REGULATORY                                                                                                     Claim paid in full via Check No. 01349923 dated
    INTEGRITY DIVISION - SAU                                                                                                  9/16/2020 and Check No. 01351770 dated 1/13/2021.
    OFFICE OF THE ATTORNEY
    GENERAL
    BANKRUPTCY COLLECTION DIV
    MC 008
    P.O. BOX 12548
    AUSTIN, TX 78711-2548



           * - Indicates claim contains unliquidated and/or undetermined amounts                                                              Page 1 of 2
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                                                                            Second Notice of Satisfaction
                                                                             Exhibit A: Satisfied Claims
                                            DATE                                                          ASSERTED CLAIM
    NAME                                    FILED      CASE NUMBER                 DEBTOR       CLAIM #       AMOUNT                      REASON FOR SATISFACTION
8   WAUKESHA WATER UTILITY                3/24/2020     20-10343 (LSS) Boy Scouts of America    C343-39            $ 568.00 Claim satisfied pursuant to Final Shared Services Order.
    ATTN: TINA LYNNE KADRICH                                                                                                Claim paid in full via Check No. 9381 dated 02/19/2021.
    P.O. BOX 1648
    WAUKESHA, WI 53187
                                                                                                TOTAL          $ 638,272.84*




           * - Indicates claim contains unliquidated and/or undetermined amounts                                                           Page 2 of 2
